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                          THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

                                        IN ADMIRALTY

IN THE MATTER OF:

THE COMPLAINT OF MICHAEL H. GARY
REV. TRUST DTD. 12/23/1996, AS OWNER
OF A 2014 72’ PRINCESS MOTOR YACHT                           CASE NO.:
GAVIOTA (HIN: VSC72100J314), ITS
ENGINE, TACKLE, APPURTENANCES,
EQUIPMENT, ETC., IN A CAUSE OF
EXONERATION          FROM         OR
LIMITATION OF LIABILITY,

      Petitioner.
__________________________________/

    COMPLAINT FOR EXONERATION FROM OR LIMITATION OF LIABILITY

       Petitioner, MICHAEL H. GARY REV. TRUST DTD. 12/23/1996, as Owner of the 2014

72’ Princess Motor Yacht GAVIOTA (HIN: VSC72100J314) (the “Vessel”), pursuant to

Supplement Rule F of the Federal Rules of Civil Procedure, files his Complaint for Exoneration

from or Limitation of Liability, and alleges as follows:

       1.      This Complaint sets forth an admiralty and maritime claim within the meaning of

Supplemental Rule 9(h) and Local Admiralty Rule A(1).

       2.      Jurisdiction is proper pursuant to 28 U.S.C. § 1333 and 46 U.S.C §30501, et seq.

       3.      At all times material hereto, MICHAEL H. GARY REV. TRUST DTD.

12/23/1996 is and was the owner of the Vessel.

       4.      This Complaint is filed within six (6) months of Petitioner’s receipt of first

written notice of a possible claim against it, arising from the subject incident and subject to

exoneration from or limitation of liability.
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        5.      Venue is proper pursuant to Supplemental Rule F(9) because the Vessel is located

within this district.

        6.      The Vessel is a seagoing vessel per 46 U.S.C. § 30506(a).

        7.      On January 18, 2021, a fire allegedly occurred on the Vessel while at the Cortez

Cove Marina at or near 4522 121st St. W, Cortez, Florida 34215 (the “Incident”), the origin of

which is unknown.

        8.      As a result of the Incident, the Vessel was completely destroyed and rendered a

total loss.

        9.      At all times material hereto, the Vessel was seaworthy, properly and efficiently

supplied, equipped, and furnished; and well and sufficiently fitted and supplied with suitable

machinery, tackle, apparel and appliances, all in good order and condition and suitable for the

use for which it was engaged.

        10.     The Incident and any ensuing property loss, damages, personal injury and/or

casualty were not caused by Petitioner’s fault, or any person for whose actions Petitioner is

responsible. Neither Petitioner nor the Vessel is liable to any extent, and Petitioner is entitled to

exoneration from liability from all losses, damages, and injury, occasioned and incurred by or as

a result of the Incident.

        11.     Alternatively, and without admitting liability, Petitioner alleges that in the event

he or the Vessel should be held at fault to any parties by reason of the Incident set forth above,

Petitioner claims such fault was occasioned and occurred without the privity or knowledge of

Petitioner or any of his agents, representatives, or any persons whose actions Petitioner is

responsible, at or before the Incident.




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       12.     The Vessel’s value following the fire was zero. See Declaration of Value, attached

hereto as Exhibit “A.”

       13.     Subject to an express reservation of rights, Petitioner files contemporaneously

herewith an Ad Interim Stipulation for Costs and Value in the appropriate form, offering

stipulation of the Vessel’s value in the amount of $0.

       14.     Should the Court require it, Petitioner is prepared to give bond or stipulation for

any amount as may be ascertained and determined to be necessary under orders of this Court,

and as provided by the laws of the United States and Federal Rules of Civil Procedure.

   WHEREFORE, Petitioner respectfully requests:

   a. Upon filing the Ad Interim Stipulation for Costs and Value herein described, this Court

       issue a notice to all persons, firms or corporations asserting claims for any and all losses,

       damages, injuries or destruction with respect to which Petitioner seeks exoneration from

       or limitation of liability admonishing them to file their respective claims with the Clerk of

       this Court and to serve on Petitioner’s attorneys a copy thereof, on or before the date

       specified in the notice;

   b. Upon filing the Ad Interim Stipulation for Costs and Value herein described, this Court

       issue an injunction, per Supplemental Rule F(3), restraining the commencement or

       prosecution of any action or proceeding of any kind against Petitioner, his underwriters,

       or any of his property with respect to any claim for which Petitioner seeks limitation,

       including any claim arising out of or connected with any loss, damage, injuries or

       destruction resulting from the Incident described in the Complaint;

   c. If any claimant who filed a claim shall also file an exception contesting the value of the

       Vessel or its pending freight, if any, as alleged herein, and the amount of the Ad Interim



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    Stipulation for Costs and Value, this Court shall order an appraisement of the value of the

    Vessel following the loss, the value of Petitioner’s interest therein, per Local Admiralty

    Rule F(3), and enter an Order for the filing of an amended stipulation for the aggregate

    value, as so determined, if any;

 d. This Court adjudge Petitioner and the Vessel, and its owners, masters, crew, employees,

    and agents, not liable whatsoever for any losses, damages, injuries or destruction, or for

    any claim whatsoever done, occasioned or incurred as the result of the Incident; or, in the

    alternative, if the Court should adjudge that Petitioner is liable in any amount whatsoever,

    that said liability may be limited to the value of Petitioner’s interest in the Vessel, and

    may be derived pro rata among such claimants; and that a judgment be entered

    discharging Petitioner and the Vessel of and from any and all further liability and forever

    enjoining and prohibiting the filing or prosecution of any claims against Petitioner or his

    property as result of or in connection with the Incident; and

 e. This Court grant Petitioner such other and further relief that justice may require.




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Dated: March 22, 2021             Respectfully submitted,


                                  /s/ Jennifer E. Seipel
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                                  GARY REV. TRUST DTD. 12/23/1996,
                                  as Owner of the 2014 72’ Princess Motor
                                  Yacht GAVIOTA (HIN: VSC72100J314),
                                  its Engines, Tackle, Appurtenances,
                                  Equipment, Etc.




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